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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


    RAHUL SHAH on assignment of
    MONICA M.,                            1:16-cv-5946 (NLH/JS)

               Plaintiff,                 OPINION

    v.

    HORIZON BLUE CROSS BLUE
    SHIELD OF NEW JERSEY and BLUE
    CROSS BLUE SHIELD OF
    MASSACHUSETTS,

               Defendants.



APPEARANCES:

MICHAEL J. SMIKUN
DANIEL C. NOWAK
LAW OFFICES OF SEAN R. CALLAGY, ESQ
650 FROM ROAD
SUITE 565
PARAMUS, NJ 07652
     On behalf of Plaintiff

MICHAEL E. HOLZAPFEL
BECKER LLC
REVMONT PARK NORTH
1151 BROAD STREET, SUITE 112
SHREWSBURY, NJ 07702
     On behalf of Defendant


HILLMAN, District Judge

      This is one of many ERISA suits filed by Plaintiff Dr.

Rahul Shah, as purported assignee of his individual patients,

against his patients’ various insurance companies.           In each
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suit, Plaintiff asserts that the insurance companies wrongfully

denied requests for payment of benefits under the patients’

health insurance policies, and consequently, Plaintiff’s bills

for service were not paid, or not fully paid.

      Before the Court is Defendant’s Motion for Summary

Judgment.    For the reasons that follow, Defendant’s motion will

be granted.

                                     I.

      The Court takes its facts from Defendant’s Statement of

Undisputed Material Facts and Plaintiff’s Response.           On October

28, 2013, Plaintiff performed a spinal surgery on Monica M.

(“Patient”).    At the time of the surgery, Patient had health

coverage through a self-funded ERISA welfare benefit plan (“DTZ

Plan”), sponsored by her employer.        To receive coverage under

the plan, the procedure must be “medically necessary and

appropriate,” as determined by Defendant.         Plaintiff does not

participate with Blue Cross which administers the Plan and is

accordingly considered an out-of-network provider.

      After Patient’s surgery, Plaintiff submitted $322,850 in

charges to Defendant for out-of-network reimbursement.            The

claim was denied because the surgery was determined to not be

medically necessary and appropriate.        This decision was upheld

on Plaintiff’s administrative appeal.

      As an out-of-network provider, Plaintiff asserts

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derivative, rather than direct, standing to assert the claims

pleaded in the Complaint.       Plaintiff relies on an “Assignment of

Benefits & Ltd. Power of Attorney & Medical Records

Authorization” purportedly given by Patient to Plaintiff and a

“Christian Brenner, PA-C” on March 27, 2014.          Notably, the DTZ

Plan expressly prohibits third-party assignments.

      Plaintiff’s Complaint asserted four claims: (1) breach of

contract; (2) denial of benefits in violation of

§ 1332(a)(1)(B); (3) breach of fiduciary duty in violation of

§ 1332(a)(3)(B); and (4) failure to maintain a reasonable claims

process pursuant to 29 C.F.R. 2560.503-1.         Following a motion to

dismiss by Defendant, this Court dismissed as moot Count One

pursuant to Federal Rule of Civil Procedure 41(a) and Count

Four.   Defendant filed its Motion for Summary Judgment on

September 29, 2017. 1

                                    II.

      This Court has federal question subject matter jurisdiction

pursuant to 28 U.S.C. § 1331.

                                    III.

      Summary judgment is appropriate where the Court is

satisfied that “’the pleadings, depositions, answers to




1    Defendant Horizon Blue Cross Blue Shield of New Jersey was
dismissed from this action by stipulation on March 8, 2017.

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interrogatories, and admissions on file, together with the

affidavits if any,’ . . . demonstrate the absence of a genuine

issue of material fact” and that the moving party is entitled to

a judgment as a matter of law.       Celotex Corp. v. Catrett, 477

U.S. 317, 322-23 (1986) (citing Fed. R. Civ. P. 56).

      An issue is “genuine” if it is supported by evidence such

that a reasonable jury could return a verdict in the nonmoving

party’s favor.     Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

248 (1986).    A fact is “material” if, under the governing

substantive law, a dispute about the fact might affect the

outcome of the suit.      Id.   “In considering a motion for summary

judgment, a district court may not make credibility

determinations or engage in any weighing of the evidence;

instead, the non-moving party’s evidence ‘is to be believed and

all justifiable inferences are to be drawn in his favor.’”

Marino v. Indus. Crating Co., 358 F.3d 241, 247 (3d Cir. 2004)

(citing Anderson, 477 U.S. at 255).

      Initially, the moving party bears the burden of

demonstrating the absence of a genuine issue of material fact.

Celotex, 477 U.S. at 323 (“[A] party seeking summary judgment

always bears the initial responsibility of informing the

district court of the basis for its motion, and identifying

those portions of ‘the pleadings, depositions, answers to

interrogatories, and admissions on file, together with the

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affidavits, if any,’ which it believes demonstrate the absence

of a genuine issue of material fact.”); see Singletary v. Pa.

Dep’t of Corr., 266 F.3d 186, 192 n.2 (3d Cir. 2001) (“Although

the initial burden is on the summary judgment movant to show the

absence of a genuine issue of material fact, ‘the burden on the

moving party may be discharged by “showing” – that is, pointing

out to the district court – that there is an absence of evidence

to support the nonmoving party’s case’ when the nonmoving party

bears the ultimate burden of proof.” (citing Celotex, 477 U.S.

at 325)).

      Once the moving party has met this burden, the nonmoving

party must identify, by affidavits or otherwise, specific facts

showing that there is a genuine issue for trial.           Celotex, 477

U.S. at 324.    A “party opposing summary judgment ‘may not rest

upon the mere allegations or denials of the . . . pleading[s].’”

Saldana v. Kmart Corp., 260 F.3d 228, 232 (3d Cir. 2001).            For

“the non-moving party[] to prevail, [that party] must ‘make a

showing sufficient to establish the existence of [every] element

essential to that party’s case, and on which that party will

bear the burden of proof at trial.’”        Cooper v. Sniezek, 418

F. App’x 56, 58 (3d Cir. 2011) (citing Celotex, 477 U.S. at

322).   Thus, to withstand a properly supported motion for

summary judgment, the nonmoving party must identify specific

facts and affirmative evidence that contradict those offered by

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the moving party.     Anderson, 477 U.S. at 257.

                                    IV.

      In May 2018, the Third Circuit concluded that “anti-

assignment clauses in ERISA-governed health insurance plans as a

general matter are enforceable.”         Am. Orthopedic & Sports Med.

v. Independence Blue Cross Blue Shield, 890 F.3d 445, 453 (3d

Cir. 2018).    “In determining what claims a healthcare provider

may bring under ERISA, courts look to the language of the

assignment.”    Ctr. for Orthopedics & Sports Med. v. Horizon, No.

13-1963, 2015 WL 5770385, at *4 (D.N.J. Sept. 30, 2015).            The

Court finds the anti-assignment clause here to be clear and

unambiguous.    It states:

      You cannot assign any benefit or monies due from this
      health plan to any person, corporation, or other
      organization without [Blue Cross’s] written consent.
      Any assignment by you will be void. Assignment means
      the transfer of your rights to the benefits provided by
      this health plan to another person or organization.

Other courts considering this same language have similarly found

it to be clear and unambiguous.        See, e.g., Advanced Orthopedic

& Sports v. Blue Cross Blue Shield of Mass., No. 14-7280, 2015

WL 4430488, at *6 (D.N.J. July 20, 2015) (finding the clause was

not ambiguous and that it was valid on its face); accord Drzala

v. Horizon Blue Cross Blue Shield, No. 15-8392, 2016 U.S. Dist.

LEXIS 66122, at *12 (D.N.J. May 18, 2016) (“The clause in

Advanced Orthopedics not only defines the instances in which a


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beneficiary can assign (in the case of written consent), but

also provides for the result if an improper assignment does, in

fact, occur (it will be void).       The anti-assignment provision in

Advanced Orthopedics also has the additional benefit of

explicitly defining what an assignment is.”).          Plaintiff does

not allege Defendant ever gave written consent for his purported

assignment.    Accordingly, the Court finds the purported

assignment to be void and, consequently, that Plaintiff lacks

standing under ERISA.      Plaintiff’s arguments to the contrary are

unconvincing.

      Plaintiff argues Defendant waived the anti-assignment

clause “through a course of dealing” with Plaintiff.

Specifically, Plaintiff argues the following shows a waiver

through course of conduct: (1) “Defendant issued an [explanation

of benefits] and medical report directly to Plaintiff denying

payment for Patient’s treatment” following Plaintiff’s

submission of a health insurance claim form; and (2) Defendant

responded to Plaintiff’s appeal with an appeal denial.            It is

Plaintiff’s contention that “Defendant waived the right to its

enforcement by accepting and basing its decisions on the [health

insurance claim form] without raising any issue about

Plaintiff’s right to engage in the very process it administers

for such purposes.”

      The Court rejects this argument.        “[I]t is now well-settled

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law in the District of New Jersey that the Plan did not waive

the Anti-Assignment Clause by dealing directly with the Medical

Provider in the claim review process, or by directly remitting

payment to the Medical Provider.”        Emami v. Quinteles IMS, No.

17-3069, 2017 WL 4220329, at *3 (D.N.J. Sept. 21, 2017); accord

Univ. Spine Ctr. v. Aetna, Inc., No. 17-8161, 2018 U.S. Dist.

LEXIS 92578, at *13 (D.N.J. May 31, 2018) (finding that payment

of part of the plaintiff’s claim and engagement in the appeals

process is “insufficient to establish waiver”); IGEA Brain &

Spine, P.A. v. Blue Cross & Blue Shield of Minn., No. 16-5844,

2017 WL 1968387, at *3 (D.N.J. May 12, 2017) (finding that the

plaintiff’s preparing of a health insurance claim form demanding

reimbursement for services and the plaintiff’s engagement in the

administrative appeals process with the defendant was

“insufficient to constitute a waiver” and stating that “[s]imply

engaging in a claim review process with Plaintiff does not

demonstrate a ‘clear and decisive act’ to waive the Plan’s anti-

assignment provisions and confer upon Plaintiff standing”).

Indeed, the Third Circuit’s recent opinion, while considering a

claim under Pennsylvania law, held identically in considering

the appellant’s waiver argument based on the processing of a

claim form and the issuing of a check to the appellant.            See Am.

Orthopedic, 890 F.3d at 454 (citing case law from the District

of New Jersey and concluding that “routine processing of a claim

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form, issuing payment at the out-of-network rate, and summarily

denying the informal appeal do not demonstrate ‘an evident

purpose to surrender’ an objection to a provider’s standing in a

federal lawsuit”).

      Plaintiff also argues the anti-assignment clause should not

be applied in this case because it concerns a “post-loss claim

and not a pre-loss policy.”       This argument has been widely

rejected by courts in this district.        See, e.g., Kayal

Orthopaedic Ctr., P.C. v. Empire Blue Cross Blue Shield, No. 16-

9059, 2017 U.S. Dist. LEXIS 153763, at *8 (D.N.J. Sept. 21,

2017) (“Plaintiff has failed to provide sufficient facts that

suggest the pre-loss/post-loss distinction is a meaningful,

relevant, or appropriate means of invalidating an otherwise

unambiguous anti-assignment provision in an ERISA-governed

health plan.”); Univ. Spine Ctr. v. Horizon Blue Cross Blue

Shield of N.J., No. 16-9253, 2017 WL 3610486, at *2 n.3 (D.N.J.

Aug. 22, 2017) (“[A]nti-assignment clauses in health benefit

plans are enforceable, even when the patient assigns a post-loss

claim.”).

      Finally, the Court finds no merit to Plaintiff’s argument

that the anti-assignment clause must be held inapplicable

because Plaintiff is the provider of the service.           See, e.g.,

Univ. Spine Ctr., 2017 WL 3610486, at *2 n.3 (“[A]n anti-

assignment clause can be enforced against the provider of the

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services that the Plan is maintained to furnish.”); Univ. Spine

Ctr. v. Aetna Inc., No. 17-8160, 2018 WL 1409796, at *5 n.6

(D.N.J. Mar. 20, 2018).       The Court concludes that Plaintiff

lacks standing in this matter.

      Further, the Court notes that Plaintiff’s claim for breach

of fiduciary duty must be dismissed as Plaintiff seeks monetary

damages.    Plaintiff’s Complaint outlines four bases for its

breach of fiduciary duty claim:

      1. Failing to issue an Adverse Benefit Determination in
         accordance with the requirements of ERISA and
         applicable regulations;

      2. Participating knowingly in, or knowingly undertaking
         to conceal, an act or omission of such other
         fiduciary, knowing such act or omission is a breach;

      3. Failing to make reasonable efforts under the
         circumstances to remedy the breach of such other
         fiduciary; and

      4. Wrongfully withholding money belonging to Plaintiff.

      Plaintiff asks for the following relief from his breach of

fiduciary duty claim: (1) payment of $322,850; (2) payment of

all benefits Patient would be entitled to; (3) compensatory

damages; (4) attorneys’ fees and costs; and (5) any other relief

deemed just and equitable.

      Plaintiff asserts his breach of fiduciary duty cause of

action pursuant to 29 U.S.C. § 1332(a)(3), which “does not

authorize a claim seeking money damages.”          Plastic Surgery Ctr.,

P.A. v. CIGNA Health & Life Ins. Co., No. 17-2055, 2018 WL

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2441768, at *13 (D.N.J. May 31, 2018).         29 U.S.C. § 1332(a)(3)

provides that

      [a] civil action may be brought . . . by a participant,
      beneficiary, or fiduciary (A) to enjoin any act or
      practice which violates any provision of this title or
      the terms of the plan, or (B) to obtain other appropriate
      equitable relief (i) to redress such violations or (ii)
      to enforce any provisions of this title or the terms of
      the plan.

      While Plaintiff argues the Court should deny this motion

because “Plaintiff might still be entitled to ‘other appropriate

equitable relief,’” Plaintiff’s argument appears to be more

appropriate for a motion to dismiss than a summary judgment

motion.    Courts in this district have frequently declined to

dismiss a breach of fiduciary duty claim for seeking only

monetary relief, finding such a determination would be premature

at the motion to dismiss stage.        See, e.g., Univ. Spine Ctr.,

2017 WL 3610486, at *4 (“Courts in this district and elsewhere

have held that because a plaintiff may plead in the alternative,

dismissal of a breach of fiduciary duty claim as duplicative of

a benefits claim is generally not appropriate on a motion to

dismiss.    At this early stage, the Court cannot state with

certainty the precise nature of USC’s injuries or the

appropriateness of any particular remedy, and thus cannot

determine whether its claim under Section 502(a)(3) is

coterminous with its claim under Section 502(a)(1)(B).”);

Lourdes Specialty Hosp. of S. N.J. v. Anthem Blue Cross Blue

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Shield, No. 16-7631, 2017 WL 3393807, at *4 (D.N.J. Aug. 7,

2017).    Plaintiff has not demonstrated any appropriate equitable

relief on summary judgment.

      Defendant’s Motion for Summary Judgment will be granted.

An appropriate Order will be entered.



Date: June 29, 2018                        s/ Noel L. Hillman
At Camden, New Jersey                     NOEL L. HILLMAN, U.S.D.J.




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